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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 DANIEL MCGOUGH,

        Plaintiff,                            Case No. 24-12821
                                              Honorable Laurie J. Michelson
 v.

 RICHARD GADWELL,

        Defendant.


                     ORDER DISMISSING COMPLAINT [1]


       Daniel McGough and Richard Gadwell are both members of Touch of Class

Valet, LLC. (ECF No. 1, PageID.2.) On October 23, 2024, McGough filed suit against

Gadwell alleging that Gadwell refused to recognize McGough’s ownership interest in

the LLC and “unilaterally dissolved the LLC without proper notice or consent from

[McGough].” (Id.) McGough also alleged that Gadwell retaliated against him by

terminating McGough’s employment with the LLC. (Id.)

       But McGough’s complaint left the Court unsatisfied that it had subject matter

jurisdiction over the action. So on November 5, 2024, the Court issued an order

instructing McGough to show cause, by November 18, 2024, as to why the Court has

diversity jurisdiction or federal question jurisdiction to hear his claims. (ECF No. 5.)

The Court warned that a failure to timely or adequately respond would result in a

dismissal of the case. (Id.)

       In his response, McGough concedes that this Court does not have subject

matter jurisdiction, and “recognizes that [his] claims arise under Michigan state law.”
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(ECF No. 6.) So he asks this Court to “remand the case to the Wayne County Circuit

Court in Michigan, where it was intended to proceed.” (Id.)

      This case, however, did not originate in state court. And so a remand would

not be proper. See U.S.C. § 1447. If McGough wishes to have his case heard by the

Wayne County Circuit Court, he must file his complaint there.

      Thus, for the foregoing reasons, McGough’s case is DISMISSED WITHOUT

PREJUDICE.

      SO ORDERED.

      Dated: November 26, 2024


                                       s/Laurie J. Michelson
                                       LAURIE J. MICHELSON
                                       UNITED STATES DISTRICT JUDGE




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